
Hawkins, J.,
delivered the opinion of the Court.
This is a suit instituted in the Circuit Court of Union County, to recover the value of a horse, alleged to have been wrongfully taken by the plaintiff in error, and converted to his use. The defendant pleaded not guilty. The cause was submitted to the jury, who rendered a verdict in favor of the, plaintiff, and assessed the damages of plaintiff at the sum of $247.50.
The defendant moved for a new trial, which was refused, and judgment pronounced upon the verdict; to reverse which the defendant has prosecuted an appeal to this Court. Several grounds of error have been assigned in argument, but one of which we deem it necessary to notice.
There is no proof in the record showing or indicating the value of the horse alleged to have been wrongfully taken by the defendant, or that the plaintiff sustained any special damages in consequence of the trespass. In this class of cases, unless the proof shows the value of the property taken, or that the plaintiff sustained some special damages in consequence of the trespass, the plaintiff is only entitled to recover neminal damages. &gt;
There is, then, no evidence to sustain the verdict as to damages. The refusal of the Circuit Court to grant a new trial, was erroneous. It is stated by the counsel there was proof before the jury amply sufficient to sustain the verdict in this respect. That may have been so, but the bill of exceptions, which purports to contain *248all the material evidence in the cause, and to which alone we must look, contains no such evidence.
The judgment will he reversed, the cause remanded, and a new trial awarded.
